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                                                                   UNITED STATES DISTRICT COURT
                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                        TRIAL EXHIBIT 1097
                                                                      CASE NO.: CR 20-249 RS
                                                                      DATE ENTERED__________
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